
PER CURIAM: *
The attorney appointed to represent Edwin Flores-Lara has moved for leave to withdraw and has filed a brief in accordance with Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). Flores-Lara has filed a response. Our independent review of the record, counsel’s brief, and Flores-Lara’s response discloses no nonfrivolous issue for appeal. Accordingly, counsel’s motion for leave to withdraw is GRANTED, counsel is excused from further responsibilities herein, and the APPEAL IS DISMISSED. See 5th Cir. R. 42.2.

 Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be published and is not precedent except under *99the limited circumstances set forth in 5th Cir. R. 47.5.4.

